










NO. 07-09-0279-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL D

AUGUST 26, 2009
______________________________

IN RE DAN VERNON WEST, RELATOR
_________________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
ON PETITION FOR WRIT OF MANDAMUS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator Dan Vernon West, acting pro se, has filed in this court a petition for
mandamus asking that we order the Hon. John B. Board, judge of the 181st District Court
of Randall County, to recuse himself or request the presiding judge of the administrative
judicial district to assign a judge to hear the motion.    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;According to his petition, the relief relator seeks in this original proceeding relates
to trial court cause number 19,298-B, pending in the 181st District Court, a criminal case
in which relator is the defendant.  Although relator is represented by counsel in that
proceeding, his recusal motion also was filed pro se.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator is not entitled to hybrid representation here or in the trial court.  See Patrick
v. State, 906 S.W.3d 481, 498 (Tex.Crim.App. 1995); Gray v. Shipley, 877 S.W.2d 806

(Tex.App.–Houston [1st Dist.] 1994, orig. proceeding).  Because the issues raised in his
pro se petition for writ of mandamus relate directly to a criminal proceeding in which relator
is represented by counsel, we find the absence of a right for hybrid representation means
his pro se petition presents nothing for our consideration.  Patrick, 906 S.W.2d at 498; see
In re Jones, No. 04-06-00026-CV, 2006 WL 286782 (Tex.App.–San Antonio Feb. 8, 2006,
orig. proceeding) (mem. op.).  Moreover, a trial court has no legal duty to rule on a pro se
motion filed in that proceeding by an accused who is represented by counsel.  See
Robinson v. State, 240 S.W.3d 919, 922 (Tex.Crim.App. 2007) (trial court free to rule on,
or disregard, motion filed pro se by defendant represented by counsel).  Accordingly,
relator’s petition for writ of mandamus is dismissed. 



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice









